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                          Case No. 23-11683-H

               UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT

            UNITED STATES SUGAR CORPORATION,
               OKEELANTA CORPORATION, and
       SUGAR CANE GROWERS COOPERATIVE OF FLORIDA,

                           Plaintiffs-Appellants,

                                     v.

        UNITED STATES ARMY CORPS OF ENGINEERS, et al.,

                          Defendants-Appellees.

              On Appeal from the United States District Court
                   for the Southern District of Florida
                         9:21-CV-81505 -DMM
                           (Consolidated Case)

      FINAL INITIAL BRIEF OF PLAINTIFF-APPELLANT
               OKEELANTA CORPORATION


                                          T. Neal McAliley
                                          David A. Karp
                                          CARLTON FIELDS, P.A.
                                          700 NW 1st Avenue, Suite 1200
                                          Miami, Florida 33136
                                          (305) 530-0050
                                          nmcaliley@carltonfields.com
                                          dkarp@carltonfields.com

                                          Counsel for Plaintiff-Appellant
                                          Okeelanta Corporation
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              CERTIFICATE OF INTERESTED PERSONS
             AND CORPORATE DISCLOSURE STATEMENT

      Plaintiff-Appellant Okeelanta Corporation submits this Certificate of

Interested Parties and Corporate Disclosure Statement pursuant to Federal Rule of

Appellate Procedure 26.1 and 11th Circuit Rule 26.1-1 through 26.1-3:

      Bishop, Timothy S.

            (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

      Booth, Colonel James L.

            (Defendant-Appellee)

      Brabender, Allen M.

            (Counsel for Defendant-Appellee U.S. Army Corps of Engineers)

      Captains for Clean Water, Inc.

            (Amicus in District Court)

      Carlton Fields, P.A.

            (Counsel for Plaintiff-Appellant Okeelanta Corp.)

      Carpenter, Elizabeth Fata

            (Counsel for Amici in District Court)

      Clement & Murphy, PLLC

            (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)




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    Clement, Paul D.

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    Coglianese, Matthew Patrick

          (Counsel for Plaintiff-Appellant Okeelanta Corp.)

    Connor, Michael L.

          (Defendant-Appellee)

    Dykema, Peter Kryn

          (Counsel for Defendant-Appellee U.S. Army Corps of Engineers)

    Everglades Foundation, Inc.

          (Amicus in District Court)

    Feeley, Matthew J.

          (Counsel for Defendant-Appellee U.S. Army Corps of Engineers)

    Florida Bay Forever, Inc.

          (Amicus in District Court)

    Florida Fruit & Vegetable Association

          (Amicus in District Court)

    Florida Farm Bureau Federation

          (Amicus in District Court)

    Florida Keys Fishing Guides Association, Inc.

          (Amicus in District Court)


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    Glass, Robert C.

          (Counsel for Amicus South Florida Water Management District)

    Gunster, Yoakley & Stewart P.A.

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    Holtzman Vogel Baran Torchinsky & Josefiak, PLLC

          (Counsel for Plaintiff-Appellant Sugar Cane Growers Cooperative of

          Florida)

    Hunter, Gary K.

          (Counsel for Plaintiff-Appellant Sugar Cane Growers Cooperative of

          Florida)

    Interlandi, Lisa

          (Counsel for Amici in District Court)

    Islamorada Chamber of Commerce, Inc.

          (Amicus in District Court)

    Jazil, Mohammed O.

          (Counsel for Plaintiff-Appellant Sugar Cane Growers Cooperative of

          Florida)

    Jeffries, Arielle Mourrain

          (Counsel for Defendant-Appellee U.S. Army Corps of Engineers)




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    Karp, David A.

          (Counsel for Plaintiff-Appellant Okeelanta Corp.)

    Kelly, Colonel Andrew D.

          (Defendant-Appellee)

    Kupfer, Avi M.

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    Lawrence, Andrew C.

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    Lomonico, Julia

          (Counsel for Amicus South Florida Water Management District)

    Madden, Deborah K.

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    Matthewman, William

          (U.S. Magistrate Judge, Southern District of Florida)

    Mayer Brown LLP

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    McAliley, T. Neal

          (Counsel for Plaintiff-Appellant Okeelanta Corp.)

    Middlebrooks, Donald M.

          (U.S. District Judge, Southern District of Florida)


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    Munson, Gregory M.

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    Okeelanta Corporation

          (Plaintiff-Appellant)

    Perko, Gary V.

          (Counsel for Plaintiff-Appellant Sugar Cane Growers Cooperative of

          Florida)

    Phillips, Luna E.

          (Counsel for Plaintiff-Appellant U.S. Sugar Corp.)

    Pinkham, James A.

          (Defendant-Appellee)

    Samson, A. Ansley

          (Counsel for Amici in District Court)

    Sanibel-Captiva Conservation Foundation, Inc.

          (Amicus in District Court)

    Sanibel-Captiva Islands Chamber of Commerce, Inc.

          (Amicus in District Court)

    Scala-Olympio, Laura E.

          (Counsel for Joint Amicus, the Florida Fruit & Vegetable Association

          and Florida Farm Bureau Federation)


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    South Florida Water Management District

          (Amicus in District Court)

    Spellmon, Lt. Gen. Scott A.

          (Defendant-Appellee)

    Sugar Cane Growers Cooperative of Florida

          (Plaintiff-Appellant)

    Sullivan, Sally J.

          (Counsel for Defendant-Appellee U.S. Army Corps of Engineers)

    Throckmorton, Charles

          (Counsel for Plaintiff-Appellant Okeelanta Corp.)

    U.S. Army Corps of Engineers

          (Defendant-Appellee)

    U.S. Attorney’s Office, Southern District of Florida

          (Counsel for Defendant-Appellee U.S. Army Corps of Engineers)

    U.S. Department of Justice, Environment and Natural Resource Division

          (Counsel for Defendant-Appellee U.S. Army Corps of Engineers)

    U.S. Sugar Corporation

          (Plaintiff-Appellant)

    Wormuth, Christine E.

          (Defendant-Appellant)


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                                     *    *   *

         Plaintiff-Appellant Okeelanta Corporation discloses that New Hope Sugar

Co-Op is a parent corporation that owns 10% or more of Okeelanta Corporation’s

stock.




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                    STATEMENT ON ORAL ARGUMENT

      The district court’s opinion below effectively re-writes a compromise struck

by Congress in the Water Resources Development Act of 2000 (WRDA 2000) and

Congressionally-mandated regulations implementing that act. The district court

opinion alters the law and regulations arising from WRDA 2000 by allowing the

U.S. Army Corps of Engineers to base decisions impacting water supply in the

Everglades on current availability of water supply resulting from operational rules

set in 2008, rather than the statutorily-required 2000 water availability. Because the

district court’s decision sweeps aside federal law and federal regulations, this appeal

merits the Court’s attention at oral argument.

      The district court’s sweeping decision not only damages the law; it harms

farmers and property owners who depended on the water level compromise in

WRDA 2000 to run their farms, plant crops, contribute to the nation’s food supply,

and employ thousands of workers. The broad impact of the district court’s decision,

and the precedent set by it, also merits the Court’s scrutiny at oral argument.

      Finally, the nuances of the issues also make this appeal suitable for oral

argument.




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     STATEMENT ON ADOPTION OF BRIEFS OF OTHER PARTIES

      In addition to the arguments made in this brief, Appellant Okeelanta

Corporation adopts the arguments set forth in the brief of Appellant Sugar Cane

Growers Cooperative of Florida, and Appellant U.S. Sugar Corporation regarding

the interpretation of the WRDA 2000, Section 601(h)(5) (the Savings Clause), and

the application of the National Environmental Policy Act, to the extent that they are

not in conflict with any argument made in this brief.




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                       STATEMENT ON JURISDICTION

      The district court exercised federal question jurisdiction over this case

pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 2201, 5 U.S.C. §§ 701-06, and U.S.

CONST., art. III, § 2. Appellant Okeelanta Corporation brought this claim under the

Administrative Procedure Act, which provides a right to judicial review to any

person adversely affected by an agency action. 5 U.S.C. § 702.

      The district court entered judgment on March 22, 2023, see (Doc. 77, J.A.

1425), and Okeelanta Corporation timely noticed this appeal against an agency of

the United States on May 17, 2023, within 60 days of the district court’s judgment.

See (Doc. 79); Fed. R. App. P. 4(1)(B)(ii).

      Pursuant to 28 U.S.C. § 1291, this Court has jurisdiction to decide this appeal

from a final decision of the U.S. District Court of the Southern District of Florida.




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                         STATEMENT OF THE ISSUES

      In a notable act of bipartisanship, Congress in 2000 passed the Water

Resources Development Act that authorized projects to restore the Florida

Everglades and increase water supply for farmers and the growing communities of

South Florida. The legislation won “the support of every major stakeholder involved

in the Everglades,” even though in the past many of those competing interests

“would often not even speak to each other[.]” See 146 Cong. Rec. H11816-03,

H11817, 2000 WL 1651211 (daily ed. Nov. 3, 2000) (statement of Rep. Goss).

Congress overcame this “immense challenge” and brought all the stakeholders

together because the law included a critical compromise. The Savings Clause in the

legislation promised that the federal government would not reduce water supply for

existing users that was available at the time, but instead address environmental

challenges while enlarging the water supply for all stakeholders. The Savings

Clause guaranteed that the government “shall not eliminate or transfer existing legal

sources of water,” including for agriculture or the urban water supply, until it first

makes available “a new source of water supply of comparable quantity and quality”

to that which was available when the law passed in 2000. WRDA 2020, Pub. L. No.

106-541, § 601(h)(5), 114 Stat 2572 (Dec. 11, 2000).

      After forging this compromise, Congress directed the U.S. Army Corps of

Engineers to cement the guarantee in federal regulations. The Corps did so by



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enacting Programmatic Regulations through the notice-and-comment process. See

33 C.F.R. Part 385.

      Twenty years later, the Corps has approved a massive civil works project, the

EAA Project, without ensuring that at least the same amount of water will be

available as was available in 2000 for the Everglades’ many agricultural users,

including Appellant Okeelanta Corp. The Corps approved the project without

complying with WRDA 2000 or conducting the water supply analysis that its own

regulations require to ensure compliance with the Saving Clause. Instead, the Corps

moved the goal post, relying on an unapproved draft guidance memorandum to base

its water analysis on lesser amounts of water made available by operational changes

to the regional water project in 2008, rather than 2000 baseline conditions fixed by

the Savings Clause. These changes threaten the supply of water that farmers like

Okeelanta use to irrigate their crops, and upset the careful compromise Congress

struck to balance the interest of farmers, developers, and environmentalists.

      This case presents a challenge to the Corps’ decision and presents two

principal questions on appeal:

      1.     Did the U.S. Army Corps of Engineers comply with WRDA 2000 and

Programmatic Regulations when it compared the water supply for the EAA Project

to current levels of water supply, despite the regulations requiring a comparison to

the 2000 pre-CERP baseline?


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      2.    Did the U.S. Army Corps of Engineers comply with NEPA and the

WRDA 2000 Savings Clause when it approved the EAA Project without evaluating

the water supply effects of operating the Stormwater Treatment Area component of

the project for several years prior to completion of the reservoir component?




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                          STATEMENT OF THE CASE

      A.     The Central and Southern Florida Project

      This case concerns the U.S. Army Corps of Engineers’ (“Corps”) 2020

approval of the Everglades Agricultural Area Project (“EAA Project”), which will

be a component of the Central and Southern Florida Project for Flood Control and

Other Purposes (“Central and Southern Florida Project”).

      The Central and Southern Florida Project is a regional civil works project built

and operated by the Corps and its local sponsor, the South Florida Water

Management District (“SFWMD”). It consists of about 1000 miles each of levees

and canals, 150 water control structures, 16 major pump stations and other features

that the agencies use to manage surface waters in South Florida. See J.A. 990. 1

      Lake Okeechobee sits at the center of the project, which stretches from

Orlando to the Florida Keys, as shown in this map:




      1
       The record below is cited as “Doc. [number] at [page number],” referring to
the docket entry number in the district court and the CM/ECF page number.

       The parties lodged the administrative record with the Clerk of the U.S. District
Court by conventional, rather than electronic, filing because of the record’s size. See
(Doc. 39, J.A. 188, 41-42, J.A.192, 43-44, J.A. 738, 986, 49, J.A. 1159). Citations
to the administrative record use the page numbering system provided by the Corps.

      All internal citations and quotations are omitted, and all emphasis is added,
unless otherwise indicated.


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J.A. 999.

      Congress originally authorized the Central and Southern Florida Project in the

Flood Control Acts of 1948 and 1954. Pub. L. No. 858, § 203, 62 Stat. 1176 (June

30, 1948); Pub. L. No. 780, § 203, 68 Stat. 1257 (Sept. 3, 1954); J.A. 1239. Those

laws approved a comprehensive plan developed by the Corps that expanded existing



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water control facilities into a regional system for water management. Id.          The

primary project purposes for the Central and Southern Florida Project as established

in the Flood Control Act of 1948 and subsequent Congressional authorizations over

the next half century were flood protection, agricultural and urban water supply,

navigation, limiting saltwater intrusion into coastal wellfields, J.A. 1000-1003;, J.A.

1240.

        The hydrological center of the Central and Southern Florida Project is Lake

Okeechobee. JA. 1247. The lake is surrounded by the Herbert Hoover Dike and can

hold more than five million acre feet of water. J.A. 1239, 1241.2 The agencies use

the lake to store water to provide flood protection in the wet season and in years with

high rainfall, and to provide water supply in the dry season and in drought years.

J.A. 1104. Water in Lake Okeechobee can be sent south to the Everglades, east and

west to the St. Lucie and Caloosahatchee Rivers, and to agricultural and urban users

around the lake and along the southeast coast of Florida. J.A. 1243; J.A.1110; When

water levels in the lake are high (such as at the end of the rainy season or in a wet

year), the agencies release large volumes primarily to the St. Lucie and

Caloosahatchee Rivers. J.A.1107-1109; J.A. 1119. When water levels are low (such



        2
        An acre-foot is a standard measure of water volume, and represents the
amount of water that would cover an acre of land one foot deep, which is 43,560
cubic feet. J.A. 1029.


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as in the dry season or in a drought year), the agencies release water to agricultural

and urban water users. J.A. 1006; J.A. 1010-1011; J.A. 976; Doc. 28-1, ¶¶ 12-21,

J.A. 114-118. Lake Okeechobee is essentially the only supplemental source of water

to meet irrigation demands in the Everglades Agricultural Area south of the lake.

J.A. 1009; J.A. 1110-1112. When there is insufficient water in the lake, farmers

such as appellant Okeelanta Corporation (“Okeelanta”) are forced to cut back on

their water use, which harms their crops, property, and businesses. J.A. 995; J.A.

1005; J.A. 996; J.A.1118; Doc. 28-1 ¶¶ 15-23, J.A. 116-118.

      The Corps controls how much water is stored and released from the lake and

other Central and Southern Florida Project features using water regulation schedules.

See Miccosukee Tribe of Indians of Fla. v. United States, 716 F.3d 535, 541-42 (11th

Cir. 2013); J.A. 1004; J.A. 1243. A regulation schedule is an operating manual that

guides agency decisions regarding the inflow and outflow of water through water

control structures under different water conditions. J.A. 1110-1115. It is the primary

tool used by water managers to regulate water levels in Lake Okeechobee, which

determines the amount of water supply available in the lake for users. J.A. 1115;

J.A. 1241.

      B.     The Comprehensive Everglades Restoration Plan and the Savings
             Clause

      For its first half century, the Central and Southern Florida Project for the most

part achieved the original project purposes of flood protection and water supply,

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which allowed millions of people to move to South Florida. J.A. 997. However, the

project had unintended adverse effects on the South Florida ecosystem, which led to

a decline in ecological conditions. J.A. 994; J.A. 997-998. In the 1990s, Congress

directed the Corps to develop a new comprehensive plan that would restore, preserve

and protect the South Florida ecosystem while providing flood control and the

enhancement of water supplies. Water Resources Development Act of 1992, Pub. L.

No. 102-580, § 309(l), 106 Stat. 4844 (Oct. 31, 1992); Water Resources

Development Act of 1996, Pub. L. No. 104-303, § 528(b)(1)(A)(i), 110 Stat. 3767

(Oct. 12, 1996).

      In response, the Corps developed the Comprehensive Everglades Restoration

Plan (“CERP” or the “Plan”) to serve as a new comprehensive plan for the Central

and Southern Florida Project. One of the central strategies of CERP was to grow the

water pie, and “vastly increase water storage and water supply for the natural system

as for urban and agricultural needs.” J.A. 993; J.A. 996; J.A. 1007-1008; J.A. 1012;

Programmatic Regulations for CERP, Final Rule, 68 Fed. Reg. 64200, 2003 WL

22656866 (Nov. 12, 2003) (similar language about a vast increase in storage). The

Corps proposed to do this by changing the operation of existing features of the

Central and Southern Florida Project, and sought authorization to build a number of

additional project features, including the EAA Project at issue in this case. J.A.

1013; J.A. 1014.


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      Congress approved the CERP and authorized the Corps to implement it in the

Water Resources Development Act of 2000 (“WRDA 2000”). Pub. L. No. 106-541,

§ 601, 114 Stat. 2572 (Dec. 11, 2000). WRDA 2000 provides that “the Plan is

approved as a framework for modifications and operational changes to the Central

and Southern Florida Project that are needed to restore, preserve and protect the

South Florida ecosystem while providing for the other water-related needs of the

region, including water supply and flood protection.” Id. § 601(b)(1)(A). Congress

directed the Corps to “integrate the activities [in the Plan] with ongoing Federal and

State projects and activities.” Id. § 601(b)(1)(B).

      WRDA 2000 includes protections for existing users of the Central and

Southern Florida Project.       In the plan development process, stakeholders

recommended that there needed to be protections for existing project users during

implementation of CERP so that the Corps would not seek to achieve environmental

objectives by re-dividing the existing water pie. J.A. 1023-1025. WRDA 2000

therefore includes a Savings Clause:

             Until a new source of water supply of comparable quantity
             and quality as that available on the date of enactment of
             this Act [December 11, 2000] is available to replace the
             water to be lost as a result of implementation of the Plan,
             the Secretary [of the Army] and the non-Federal sponsor
             shall not eliminate or transfer existing legal sources of
             water, including those for -- (i) an agricultural or urban
             water supply….

WRDA 2000, § 601(h)(5).

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The Corps has stated that the intent of this prohibition is that “[e]limination of

existing sources of water supply is barred until new sources of comparable quantity

and quality of water are available.” Programmatic Regulations Final Rule, 68 Fed.

Reg. at 64216 (quoting Senate Report No. 106-362).

      Congress required the Corps to “promulgate Programmatic Regulations to

ensure that the goals and purposes of the Plan are achieved.” WRDA 2000, §

601(h)(3)(A). The Corps issued the regulations in 2003 to “establish the process

necessary for implementing the Plan.” Programmatic Regulations Final Rule, 68

Fed. Reg. at 64221 (promulgating 33 C.F.R. § 385.1(b)). The regulations provide

that for each project identified in the Plan, the Corps must prepare a Project

Implementation Report which provides the information “necessary for the Secretary

of the Army to approve the project for implementation.” 33 C.F.R. § 385.26(a)(1).

The Project Implementation Report must determine compliance with the Savings

Clause, id. § 385.26(a)(3)(x), and include the appropriate environmental analysis

under NEPA, id. § 385.26(d). The Corps cannot request authorization for a project,

and the Assistant Secretary of the Army cannot approve a project, until the Project

Implementation Report is complete. Id. §§ 385.26(a)(1), (f)(7).

      The Programmatic Regulations also establish other procedures to effectuate

the provisions of WRDA 2000. Relevant to the Savings Clause, the regulations

provide that a Project Implementation Report must “include analyses to determine


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if existing legal sources of water are to be eliminated or transferred as a result of

project implementation.” 33 C.F.R. § 385.36(a). The regulations establish a specific

method for making that determination when the Corps proposes a particular CERP

project:

             The Corps of Engineers and the non-Federal sponsor shall
             determine if implementation of the project will cause an
             elimination or transfer of existing legal sources of water
             by comparing the availability of water with the
             recommended project with the pre-CERP baseline
             developed in accordance with § 385.35(a)….

Id.; see also § 385.26(a)(3)(x).     The “pre-CERP baseline” is defined in the

regulations as “the hydrologic conditions in the South Florida ecosystem on the date

of enactment of WRDA 2000 [December 11, 2000], as modeled using a multi-year

period of record based on assumptions such as … assumed operations of the Central

and Southern Florida Project.” 33 C.F.R. § 385.3. The Corps was required to issue

an approved document by June 2004 that set forth the assumptions to be contained

in the pre-CERP baseline, id. § 385.35(a)(1), but never did so, Doc. 45 ¶ 43 (Federal

Defendants’ answer, admitting allegation that “the Corps and SFWMD never issued

a final, approved pre-CERP baseline”).

      The Programmatic Regulations also provide that the Corps must develop “a

guidance memorandum” that “describe[s] the process for comparing the

recommended project with the pre-CERP baseline.” 33 C.F.R. § 385.36(b). The

regulations provide that the Corps must develop the guidance memorandum by

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December 2004, and establish “[s]pecial processes” for its development culminating

with “approval by the Secretary of the Army” so that there would be consensus

among stakeholders. Id. § 385.5(b). The Corps never issued an approved guidance

memorandum as required by the regulations, but issued a draft in 2007. J.A. 751-

769; J.A. 936-937. The draft memorandum asserts that there are some Corps

modifications to the Central and Southern Florida Project that are not subject to

WRDA 2000 (so-called “intervening non-CERP activities”) and that the Corps can

ignore their effects in subsequent Savings Clause analyses. J.A. 758.

      C.     The EAA Project

      The EAA Project is one of the projects identified in CERP. J.A. 857. The

project calls for construction of a reservoir in the Everglades Agricultural Area

between Lake Okeechobee and the Everglades, which can be used to store water

from the lake for release to the Everglades or agricultural users. J.A. 565; J.A. 662;

J.A. 624; J.A. 853; J.A. 860. The project also includes a stormwater treatment area

(“STA”) to remove phosphorus from water delivered to the Everglades to address

water quality concerns.    J.A. 438.    The stormwater treatment area filters the

phosphorous by flowing water through an engineered wetland before discharge

downstream. Id.

      The project has evolved over time through several Corps planning processes.

Congress originally authorized construction of an EAA reservoir in WRDA 2000.



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WRDA 2000, § 601(b)(2)(c)(ii). The Corps started planning for the project in 2005

but stopped work in 2008. See NRDC v. Van Antwerp, Case No. 9:07-cv-80444, at

ECF No. 193 (S.D. Fla. 2009). The Corps then re-started planning for the project in

2011 as part of a suite of CERP projects known as the Central Everglades Planning

Project. J.A. 794-795. As part of the Central Everglades Planning Project, the

project analyzed stored water in a shallow flow-equalization basin and had no

stormwater treatment area. J.A.1055; J.A. 1056; J.A. 1052. The Corps issued a

Project Implementation Report for this version of the project in 2014 and approved

it with a Record of Decision in 2015. J.A. 1100-1102; J.A. 1051. Congress

authorized the Central Everglades Planning Project in 2016. WRDA 2016, Public

Law No. 114-322, § 1401(4), 130 Stat. 1714 (Dec. 16, 2016).

      In 2018, the State of Florida proposed to increase the storage capacity of the

reservoir and add a stormwater treatment area. The SFWMD prepared a Post-

Authorization Change Report (also known as a Section 203 report) that included a

draft Environmental Impact Statement. J.A. 559-560; J.A. 849-851 (describing

SFWMD 240,000 acre-foot reservoir).          Congress authorized the revised EAA

Project as a Post-Authorization Change to the original design, subject to Corps

modification, Pub. L. No. 115-270, § 1308(a), 132 Stat. 3765, 3819 (Oct. 23, 2018),

and subsequently authorized the project as revised by the Corps. WRDA 2020, §

324, Pub. L. No. 116-260, 134 Stat. 1182 (Dec. 27, 2020).


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      This map shows the location of the reservoir and stormwater treatment area:




J.A. 495.

      In 2020, the Corps issued a draft final Environmental Impact Statement in

January 2020 and a final Environmental Impact Statement (“FEIS”) in May 2020.

J.A. 829; J.A. 848.

      The Assistant Secretary of the Army issued a Record of Decision approving

the EAA Project as a civil works project in May 2020. J.A. 842. The Corps issued

a Record of Decision in April 2020 that approved a Clean Water Act Section 404

permit to the SFWMD, authorizing the discharge of dredged and fill material into

the waters of the United States in connection with construction of the project. J.A.

465; J.A. 471. In April 2021, the Corps and SFWMD entered into a Project




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Partnership Agreement based on the 2020 FEIS that governs the two agencies’

responsibilities for building and operating the EAA Project. J.A. 712.

      The reservoir and stormwater treatment area components of the EAA Project

are being implemented on different schedules. Construction of the reservoir is not

scheduled to be completed until at least 2029. J.A. 708. Construction of the

stormwater treatment area is scheduled to be completed this year, i.e., 2023. J.A.

828. After the STA is built, there is a vegetation grow-in phase scheduled to finish

in 2025, after which the STA can be used for flow-through operations and be ready

to deliver treated water to the Everglades. J.A. 434-435 (2020 ROD, stating that the

grow-in period “is expected to last approximately 2 years”).          The stormwater

treatment area component therefore will be ready for operations at least four years

before completion of the reservoir component.

      D.    Agency Analysis Pursuant to the Savings Clause

      For years in the administrative process, Okeelanta and its affiliates asked the

Corps to ensure that the EAA Project would protect the water supply available when

WRDA 2000 was enacted. J.A. 1098-1099; J.A. 980; J.A. 1096-1097. Okeelanta

also asked the Corps to analyze the water supply effects of operating the STA before

the reservoir is completed. J.A. 498.

      The Corps prepared an analysis under the WRDA 2000 Savings Clause for

the EAA Project. In 2014, the Corps included a Savings Clause analysis in the



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Project Implementation Report for the then-current version of the project. J.A. 1120-

1137. In 2018, the SFWMD included a Savings Clause analysis for the revised

project (which included a larger reservoir with an STA) in its Post-Authorization

Change Report. J.A. 808; J.A. 814-818. In 2020, the Corps adopted the SFWMD’s

2018 Savings Clause analysis. J.A. 354; J.A. 355-430; J.A. 932-936.

          The agencies evaluated the water supply performance of the EAA Project

using computerized hydrological models that simulate water conditions. J.A. 1129;

J.A. 809-810. Such models allow the agencies to input assumptions regarding the

structural capacity of Central and Southern Florida Project features and the

operational rules (e.g., regulation schedules) under which the features are used. J.A.

1116. The models then analyze how much water would have been available under

those assumptions in each year of a multi-decade period of record for which the

agencies have rainfall and other climatic data. J.A. 1117; J.A. 810. This allows the

agencies to see how much water supply would be available in typical rainfall years,

wet years, and drought years. See generally J.A. 1116 (LORS description of

SFWMD); J.A. 823 (example of modeled analysis showing different results in

certain drought years); see also Natural Resources Defense Council, Inc. v. U.S.

Army Corps of Eng’rs, 2001 WL 1491580, *8 (S.D. Fla. June 28, 2001) (describing

example of how hydrological models are used to compare different operational

rules).


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      The agencies never compared the water supply available with the EAA Project

to water supply available under the pre-CERP baseline, i.e., using “assumed

operations of the Central and Southern Florida Project” on “the date of enactment of

WRDA 2000.” 33 C.F.R. § 385.3 (definition of “pre-CERP baseline”). J.A. 799

(“The original Pre-CERP Baseline … [was] not used for CEPP analyses (RSM

model representations were not developed)”); J.A. 813-815 (“The original Pre-

CERP Baseline … [was] not used for the CEPP PACR analysis”). This reflects the

fact that the Corps never issued an approved pre-CERP baseline as required by the

Programmatic Regulations. Doc. 45 ¶ 43, J.A. 1150. Instead, the agencies compared

water supply with the EAA Project with levels of water supply provided by existing

Central and Southern Florida Project operational rules in effect at the time the

analyses were conducted in 2014-2020. J.A. 1057; J.A. 637; J.A. 797-799.

      Current operational rules for the Central and Southern Florida Project provide

less water supply than was available in 2000 when CERP was approved. The Corps

has diminished the available water supply by changing how it manages water in Lake

Okeechobee, the primary feature of the Central and Southern Florida Project where

water is stored for agricultural and urban users. J.A. 1009. When WRDA 2000 was

enacted, the Corps managed Lake Okeechobee water levels using a regulation

schedule known as Water Supply and Environment (“WSE”). J.A. 1206. In 2008,

the Corps adopted a new water regulation schedule known as the Lake Okeechobee


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Regulation Schedule (“LORS”). J.A. 1229. LORS lowered average lake stages by

approximately 1.0-1.5 feet, which reduced the amount of water stored and available

for water users by approximately 500,000 acre feet. J.A. 638; J.A. 956; J.A. 1240

(Lake Okeechobee covers 724 square miles, which is approximately 463,000 acres);

J.A. 1247 (LORS lowered average lake levels by 1.0-1.5 feet); compare J.A. 1180

(providing for WSE elevation of 18.53 feet) with J.A. 1169 (providing that all

regulation schedule alternatives for LORS would have a maximum elevation of

17.25 feet). The Corps adopted LORS as a temporary measure to lower lake levels

while it made repairs to the Herbert Hoover Dike and to achieve environmental

objectives, and said it would be in effect for three years. J.A. 1203; J.A. 1169; J.A.

824. LORS remains in effect today, fifteen years later, although it is scheduled to

be replaced with a new regulation schedule later in 2023. Doc. 76, at 9, J.A. 1394;

(Doc. 82 at 94:8-10) (Summ. J. Hr’g Tr.). The Corps’ Savings Clause analysis for

the EAA Project compared water supply with the project to water supply assuming

that LORS was in effect in 2008. J.A. 653 (PACR, Annex B Savings Clause

analysis); J.A. 637 (Table B-2); J.A. 653 (PACR, Appx A, Annex A-2 Model

Documentation Reports); J.A. 797.

      The Corps prepared several NEPA documents related to the EAA Project,

including the Project Implementation Report for the Central Everglades Planning

Project (which functioned as an Environmental Impact Statement) and the May 2020


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Final Environmental Impact Statement. The NEPA documents analyze the effects

of construction and operation of the EAA Project. J.A. 870-931 (2020 FEIS). In

none of these documents did the Corps evaluate an alternative that would provide

the same agricultural and urban water supply available when WRDA 2000 was

enacted. J.A. 1054; J.A. 609; J.A. 1059; J.A. 636; J.A. 637; J.A. 653; J.A. 797. The

NEPA documents also do not show how much water supply would be available with

the EAA Project compared to what was available in 2000 when Congress approved

the CERP. J.A. 609; J.A. 866. The NEPA documents state that the EAA Project

increases water storage compared to current levels, see, e.g., J.A. 903 (2020 FEIS),

but does not acknowledge that the Corps is still providing less overall water supply

than was available in 2000. Compare J.A. 1240 (Lake Okeechobee covers 724

square miles, which equates to approximately 463,000 acres), and J.A. 1247 (LORS

lowered average lake levels by 1.0-1.5 feet) with J.A. 842 (EAA Project reservoir

has 240,000 acre feet storage capacity).

      In the Savings Clause analyses and NEPA documents, the agencies also

assumed that the stormwater treatment area and reservoir would only be operated

together, and failed to analyze how flow-through operations of the stormwater

treatment area prior to completion of the reservoir would affect water supply. J.A.

616-619 (all alternatives combine STA and reservoir).




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      E.     Proceedings in District Court

      Okeelanta filed its complaint in U.S. District Court in West Palm Beach on

August 26, 2021 to protect the water supply it needs in dry periods. Okeelanta is a

company that farms land in the Everglades Agricultural Area south of Lake

Okeechobee, including land proximate to the location of the EAA Project. J.A. 946,

J.A. 947-948, J.A. 949, J.A. 950, J.A. 975. Like other farmers in the area, it relies

on water provided by the Central and Southern Florida Project to irrigate, its crops,

especially during the dry season and drought years. Doc. 28-1 at 3-5 J.A. 116-118

(Decl. of Thomas K. MacVicar). When water is not available in the Central and

Southern Florida Project, such as when water levels in Lake Okeechobee are low,

Okeelanta and neighboring farmers receive less water to irrigate their crops. Id.

      Okeelanta’s amended complaint brings two claims pursuant to the

Administrative Procedure Act. The first claim is that the Corps violated the WRDA

2000 Savings Clause and the Programmatic Regulations when it approved the EAA

Project without comparing the water supply with the EAA Project to the water

supply available under the 2000 pre-CERP baseline, and when it failed to analyze

the water supply effects of standalone operations of the stormwater treatment area.

Doc. 31 at 16, J.A. 152. The second claim is that the Corps violated the National

Environmental Policy Act when it failed to analyze the water supply effects of




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operating the stormwater treatment area before completion of the reservoir. Doc. 31

at 16-18, J.A. 152-154.

      The district court consolidated Okeelanta’s case with the separate cases filed

by U.S. Sugar Corporation and the Sugar Cane Growers Cooperative. Doc. 20.

      The Corps filed a Motion to Dismiss that challenged the plaintiffs’ standing.

Doc. 25. The district court denied the motion, finding that Okeelanta and the other

plaintiffs had alleged sufficient facts to demonstrate that they have a concrete and

particularized interest, i.e., that they use water from Lake Okeechobee to irrigate

their crops during droughts and dry periods, Doc. 37 at 6, 10-11, J.A. 168, 172-173;

that they will be harmed as a result of the agency’s actions because “the frequency

and severity of water shortages will materially increase” as a result of the challenged

actions; e.g., id. at 20, 24, J.A. 182, 186; and that plaintiffs’ procedural claims mean

proof of redressability is relaxed, id. at 9, J.A. 171.

      The parties filed cross Motions for Summary Judgment based on the

administrative record provided by the Corps. Doc. 50, J.A. 1259; Doc. 56.

      On March 21, 2023, the district court entered an order granting the Corps’

Motion for Summary Judgment and denying the Plaintiffs’ Motion for Summary

Judgment. Doc. 76, J.A. 1386. On the Savings Clause claim, the Order concluded

that if water supply was reduced as the result of a previous agency action that was

not part of CERP (which it referred to as an “intervening non-CERP activity”), then


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the Corps did not need to compare water supply with the EAA Project to water

supply available under the pre-CERP baseline. It reached this conclusion based on

the logic of a Corps’ guidance memorandum that was issued in draft in 2007 but

never finalized. The guidance memorandum focused on the phrase in the Savings

Clause “as a result of implementation of the Plan.” Most of the Order consisted of

a discussion of whether the Corps had to comply with the Savings Clause when it

adopted LORS in 2008, Doc. 76 at 19-34, J.A. 1404-1419, which it saw as answering

the question of whether LORS was an “intervening non-CERP activity,” and

concluded that LORS “changed the baseline” for the Savings Clause, id., at 3, 15,

J.A. 1358, 1400. The Order criticized plaintiffs for not filing a lawsuit when the

Corps adopted LORS in 2008, id. at 20-21, J.A. 1405-1406, and offered advice to

the Corps on proposed future changes to regulation schedules for Lake Okeechobee,

id. at 15, J.A. 1400.

      The Order stated that it was giving no deference to the Corps’ interpretation

of the Savings Clause, Doc. 76 at 16, J.A. 1401, but it effectively adopted the Corps’

position on the water supply baseline set forth in the 2007 draft guidance

memorandum, and also excused multiple agency violations of the Programmatic

Regulations as, for instance, “due to the nature of the bureaucratic process.” (Doc.

76 at 7, J.A. 1392) (accepting the Corps’ explanation that bureaucracy caused its

failure to finalize guidance memorandum as required in 2005 ), (Doc. 75 at 35 n.24


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(stating that “I do not find that significant” that the Corps missed the deadline to

issue a final pre-CERP baseline). The district court also apparently misunderstood

the fact that the pre-CERP baseline does not represent a fixed quantity of water but

rather is the amount of water that would be available under different rainfall

conditions if the facilities and operational rules in existence in 2000 remained in

effect. Compare Doc. 76 at 6, J.A. 1391 (“[t]he level/quality of water available ‘as

that available on the date of enactment of this Act’ is referred to as the ‘pre-CERP

baseline’”), 17-18, J.A. 1402-1403 (“what else would Plaintiffs have the Corps call

a drought [other than an intervening non-CERP activity]?”) with 33 C.F.R. § 385.3

(definition of pre-CERP baseline as modeled conditions based on assumptions

regarding structures and operations in 2000); see also Doc. 76, at 2, J.A. 1387(“The

facts of this case can be difficult to get through.”).

      On the NEPA claim, the Order acknowledged that the Corps’ NEPA analysis

completed prior to issuing its record of decision assumed that the STA and reservoir

would operate in tandem, and that there was no analysis of standalone operation of

the stormwater treatment area after the grow-in period. Doc. 76, at 36, J.A. 1421.

However, the Order stated that agency counsel had committed the Corps at oral

argument to analyze this issue before the STA started operations, id. at 37-38, J.A.

1422-1423 and entered summary judgment for the Corps due to “the broad discretion




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that agencies are given as to when they perform a NEPA analysis.” Id. at 38, J.A.

1423.

                          SUMMARY OF ARGUMENT

        The Corps approved the EAA Project without ensuring that it would protect

agricultural and urban water supply, in violation of WRDA 2000, NEPA, its own

regulations, and the Administrative Procedure Act.

        The EAA Project is part of the Comprehensive Everglades Restoration Plan,

which is a framework for modifications to the Central and Southern Florida Project

designed to achieve environmental objectives while protecting existing uses served

by the project. A central feature of the CERP is that the Corps would achieve

environmental objectives by increasing the amount of water stored in the Central

and Southern Florida Project so that more would be available for the natural system

(i.e., by growing the water pie), not by redirecting water from existing users (i.e., by

dividing the water pie). When Congress approved CERP in WRDA 2000, it

included a Savings Clause to ensure that the Corps would not eliminate or transfer

existing legal sources of water until comparable alternative sources become

available.    At Congress’ direction, the Corps promulgated Programmatic

Regulations that define the process for implementing the Savings Clause. Pursuant

to the regulations, the Corps must compare water available with a CERP component

(in this case, the EAA Project) with water available when WRDA 2000 was enacted,



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the so-called “pre-CERP baseline.” This process ensures that the Corps will achieve

environmental goals by growing the water pie, and not by redividing the existing pie

of water supply.

      The Corps did not follow the process in its own Programmatic Regulations

when it approved the EAA Project. Specifically, the Corps did not compare water

supply available with the EAA Project to water supply available under the pre-CERP

baseline; in fact, the agency never even finalized a pre-CERP baseline as required in

the regulations. Instead, the Corps compared water availability with the EAA

Project to the amount of water supply available at the time the agency conducted its

analysis, which is less than the pre-CERP baseline because the Corps reduced the

amount of water stored with the Lake Okeechobee Regulation Schedule adopted in

2008. Use of this alternative procedure violated the Programmatic Regulations and

the Savings Clause. The Corps used this later and lower baseline based upon a draft

guidance memorandum that indicated that the Corps could use a different water

supply baseline resulting from the agency’s actions that it deems to be “intervening

non-CERP activities.”      Such a guidance memorandum cannot change the

requirements of a regulation, and it was arbitrary and capricious for the Corps to

follow the procedure in that memorandum instead of following the procedure in the

regulations, promulgated through a notice and comment process.




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      The Corps also violated NEPA and the WRDA 2000 Savings Clause when it

approved the EAA Project without evaluating the water supply effects of operating

the stormwater treatment area component of the project for several years before

completion of the reservoir component. The STA is designed to treat water from

Lake Okeechobee before discharging it to the Everglades, and the reservoir

component is designed to store lake water so it could be used for environmental or

agricultural water supply. The two components could be operated together to protect

the water supply, but operating the STA by itself can significantly reduce the amount

of water stored in Lake Okeechobee where it is otherwise available to agricultural

and urban users. The Corps assumed that the two components would be operated

together in its analyses before project approval, despite knowing that the stormwater

treatment area will be ready for flow-through operations for several years before

completion of the reservoir. The Corps’ failure to analyze the effects of standalone

STA operations violated NEPA and left the agency blind to potential water supply

impacts during that interim period. The Corps also violated WRDA 2000 because

it failed to conduct any kind of Savings Clause analysis of standalone STA

operations.

      The district court erred in entering summary judgment for the Corps.

Regarding the proper Savings Clause baseline, the Order misidentified the central

issue in the case, by focusing on whether the Corps had to follow the Savings Clause


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when it adopted LORS in 2008 rather than the baseline the Corps was required to

use when it approved the EAA Project in 2020. The Order also made leaps of logic

that adoption of LORS somehow changed the requirements of the Programmatic

Regulations, ignored the plain language of the regulation governing Savings Clause

analyses, and incorrectly presumed that an agency can follow a guidance

memorandum in lieu of a regulation.

      Regarding standalone operations of the stormwater treatment area, the Order

acknowledged that the Corps did not conduct any analysis of water supply effects in

that interim period. However, the Order did not even address whether this violated

the Savings Clause. With regard to NEPA, the Order wrongly assumed that an

agency can defer its analysis to a time after it has approved a project, and that it can

deliberately analyze different operational periods of the same project in separate

Environmental Impact Statements.

                                    ARGUMENT

      A.     Standard of Review

      The Court reviews the grant of summary judgment de novo, applying the same

underlying standard of review used by the district court. Islam v. Sec’y, Dep’t of

Homeland Security, 997 F.3d 1333, 1346 (11th Cir. 2021); Salmeron-Salmeron v.

Spivey, 926 F.3d 1283, 1286 (11th Cir. 2019).




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      The Administrative Procedure Act requires the Court to determine whether

the agency’s decision was “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law, … in excess of statutory … limitations…., [or] without

observance of procedure required by law….” 5 U.S.C. §§ 706(2)(A), (C), (D); SAS

Institute Inc. v. Iancu, 138 S. Ct. 1348, 1359 (2018); Defenders of Wildlife v. Bureau

of Ocean Energy Mgmt., 684 F.3d 1242, 1248 (11th Cir. 2012). “An agency’s failure

to follow its own regulations is arbitrary and capricious.” Conservancy of Sw. Fla.

v. U.S. Fish & Wildlife Serv., 677 F.3d 1073, 1078 n.10 (11th Cir. 2012); see also

Sierra Club v. Martin, 168 F.3d 1, 4 (11th Cir. 1999) (a court “must overturn agency

actions which do not scrupulously follow the regulations and procedures followed

by the agency itself”) (quoting Simmons v. Block, 782 F.2d 1545, 1550 (11th Cir.

1986)). An agency decision is also arbitrary and capricious “if the agency has relied

on factors which Congress has not intended it to consider, entirely failed to consider

an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is so implausible that it could not be

ascribed to a difference in view or product of agency expertise.” Motor Vehicles

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).




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      B.    The Army Corps Violated the WRDA 2000 Savings Clause and
            Programmatic Regulations When it Used the Wrong Water Supply
            Baseline

            1.     The Agency Did Not Use the Pre-CERP Baseline for its
                   Savings Clause Analysis Contrary to the Requirements of
                   WRDA 2000 and the Programmatic Regulations

      The Corps violated WRDA 2000 and the Programmatic Regulations

implementing the Savings Clause when it approved the EAA Project without

comparing water supply available with the EAA Project to water supply available in

2000 when Congress approved the CERP. The WRDA 2000 Savings Clause states:

            Until a new source of water supply of comparable quantity
            and quality as that available on the date of enactment of
            this Act [December 11, 2000] is available to replace the
            water to be lost as a result of the implementation of the
            Plan, the Secretary [of the Army] and the non-Federal
            sponsor shall not eliminate or transfer existing legal
            sources of water, including those for --- (i) an agricultural
            or urban water supply…

WRDA 2000, § 601(h)(5).

      The Corps promulgated the Programmatic Regulations “to establish the

processes necessary for implementing the Plan,” 33 C.F.R. § 385.1(b), including

section 385.36(a) that establishes the process to implement the Savings Clause. That

section provides: “[t]he Corps of Engineers and the non-Federal sponsor shall

determine if implementation of the project will cause an elimination or transfer of

existing legal sources of water by comparing the availability of water with the

recommended project with the pre-CERP baseline developed in accordance with §

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385.35(a)….” 33 C.F.R. § 385.36(a) (emphasis added). The “pre-CERP baseline”

is defined as “the hydrologic conditions in the South Florida ecosystem on the date

of enactment of WRDA 2000, as modeled by using a multi-year period of record

based on assumptions such as land use, population, water demand, water quality,

and assumed operations of the Central and Southern Florida Project.” Id. § 385.3.

         The Corps’ Savings Clause analysis for the EAA Project did not follow the

procedure set forth in section 385.36(a). That section requires the Corps to compare

water supply with the EAA Project to water supply available at the pre-CERP

baseline using “assumed operations” in effect in 2000. Instead, the Corps compared

water supply with the EAA Project to water supply provided by current Central and

Southern Florida Project operational rules, i.e., it used current conditions as the

baseline. The Central and Southern Florida Project operational rules in effect today

provide less water supply than the pre-CERP baseline because the Corps reduced

average water levels in Lake Okeechobee in LORS 2008.            The Corps could not,

consistent with the regulation, assume operations that began in 2008 because the

definition of “pre-CERP” baseline specifically states that the Corps must use

“assumed operations of the Central and Southern Florida Project” in 2000. Id. §

385.3.

         The Corps was required to follow the procedures set forth in the Programmatic

Regulations.       Congress directed the Corps to “promulgate programmatic


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regulations” after “notice and opportunity for public comment.” WRDA 2000, §

601(h)(3)(A). “When Congress authorizes an agency to proceed through notice-and-

comment rulemaking, that ‘relatively formal administrative procedure’ is a ‘very

good indicator’ that Congress intended the regulation to carry the force of law.”

Encino Motorcars LLC v. Navarro, 579 U.S. 211, 220 (2016) (quoting United States

v. Mead Corp., 533 U.S. 218, 229-30 (2001)); see also Perez v. Mortgage Bankers

Ass’n, 575 U.S. 92, 96 (2015)) (“rules issued through the notice-and-comment

process … have the ‘force and effect of law’”) (quoting Chrysler Corp. v. Brown,

441 U.S. 281, 302-03 (1979)); Black’s Law Dict. (11th ed. 2019) (defining

“regulation” as “an official rule or order, having legal force, usually issued by an

administrative agency”).

      The Corps used a different water supply baseline based on a draft guidance

memorandum issued in 2007. J.A. 798-799; J.A. 208; J.A. 635; J.A. 751. The

guidance memorandum asserts that the Savings Clause does not apply to

“intervening non-CERP activities,” that LORS was such an activity, and that

“intervening non-CERP activities” reset the water supply baseline for Savings

Clause analyses conducted for future CERP projects. J.A. 757.

      This guidance memorandum cannot be squared with the plain language of 33

C.F.R. 385.36(a).   The regulation says nothing about “intervening non-CERP

activities.” Section 385.36(a) requires a comparison with the “pre-CERP baseline,”


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while the guidance memorandum states that intervening non-CERP activities

“change the hydrologic conditions from those reflected in the pre-CERP baseline.”

J.A. 758.    The guidance memorandum makes the reference to the “pre-CERP

baseline” a nullity, because the Corps will apparently never use the pre-CERP

baseline in conducting future Savings Clause analysis because LORS purportedly

reset the baseline. This is confirmed by the fact that the Corps never finalized a

document defining the pre-CERP baseline as required by the Programmatic

Regulations, Doc. 45 ¶ 43, J.A. 1150, and did not even include the draft document

identifying the pre-CERP baseline in the administrative record. Notably, the draft

guidance does not even discuss section 385.36(a) or attempt to explain how

excluding intervening Corps activities can be consistent with a comparison to the

pre-CERP baseline. See J.A. 758-759. The inconsistency with the regulation itself

violates the regulation governing development of guidance memoranda. 33 C.F.R.

§ 385.5(b)(1) (“Guidance memoranda shall be consistent with this part, applicable

law, and achieving the goals and purposes of the Plan.”).

      It was arbitrary and capricious for the Corps to follow the procedure set forth

in the guidance memorandum rather than the procedure set forth in its regulation.

“An agency may not depart from a prior policy sub silentio or simply disregard rules

that are still on the books.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515

(2009) (citing United States v. Nixon, 418 U.S. 683, 696 (1974)). It is arbitrary and


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capricious for an agency to follow guidance that is inconsistent with the agency’s

regulation. Chewy, Inc. v. U.S. Dep’t of Labor, 69 F.4th 773, 776 (11th Cir. 2023)

(holding that agency was “obliged to abide by [] preemption regulation in its

decision,” and failure to apply that regulation rendered decision arbitrary and

capricious); Simmons v. Block, 782 F.2d 1545, 1549-50 (11th Cir. 1986) (holding

that agency decision was arbitrary and capricious where agency followed policy

instead of procedure set forth in regulation); Charter Fed. Sav. & Loan Ass’n, West

Point, Ga. v. Office of Thrift Supervision, 912 F.2d 1569, 1580-81 (11th Cir. 1990)

(holding that agency decision not to follow plain language of regulation, but instead

to rely on factors not found in regulation, was arbitrary and capricious).

      If the Corps believes that the procedure established in the Programmatic

Regulations was incorrect, then the proper course would have been for the agency

to amend the regulations. The regulations expressly contemplate that the Corps

might revise the regulations to incorporate material from guidance memoranda. 33

C.F.R. § 385.5(b)(6). However, “agencies [must] use the same procedures when

they amend or repeal a rule as they used to issue the rule in the first instance.” Perez,

575 U.S. at 101 (citing Fox Television Stations, 556 U.S. at 515); see also

Programmatic Regulations Final Rule, 68 Fed. Reg. at 64203 (noting that revisions

to regulations require the Corps “to initiate a rulemaking process”). An agency

cannot change a rule or create a de facto new regulation through issuing a guidance


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memorandum. Kisor v. Wilke, 139 S. Ct. 2400, 2415 (2019) (citing Christensen v.

Harris Cnty., 529 U.S. 576, 588 (2000)); New Hope Power Co. v. U.S. Army Corps

of Eng’rs, 746 F. Supp. 2d 1272, 1282-84 (S.D. Fla. 2010) (holding that Corps

violated APA when it attempted to change regulations through issuance of a memo

rather than following notice and comment rulemaking procedures). The Corps’

failure to amend its regulations means that it had to follow the existing procedure.

      The guidance memorandum itself is highly irregular. It was never approved

and finalized as required in the Programmatic Regulations, which would have

allowed aggrieved parties to challenge the memorandum when it was issued.

Instead, the Corps has left it in draft form for sixteen years while nevertheless

following it in connection with CERP projects. The Corps also never stated when it

adopted LORS 2008 that it would permanently change the water supply baseline

under the Savings Clause for future CERP projects, see generally J.A. 1103, which

would have alerted stakeholders that it was more than a temporary change to

management of Lake Okeechobee and that they should consider challenging it.

      The logic of the guidance memorandum also runs counter to the structure of

WRDA 2000. In WRDA 2000, Congress approved the CERP as a “comprehensive

plan” to serve as the “framework for modifications and operational changes to the

Central and Southern Florida Project.” WRDA 2000 § 601(b)(1)(A). A plan is

“comprehensive” if it covers everything, see Webster’s Ninth New Collegiate


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Dictionary 270 (9th ed. 1989) (defining “comprehensive” as “covering completely

or broadly”), and something is a “framework” if it provides overall policy direction,

see id. at 489 (defining “framework” as “a basic structure (as of ideas)”). Congress

also directed the Corps to “integrate” that plan with preexisting authorized projects.

WRDA § 601(b)(1)(B). “Integrate” means to bring together into a single whole. See

id. at 628 (defining “integrate” as “to form, coordinate, or blend into a functioning

or unified whole”). This language indicates that nothing is excluded from the

comprehensive framework.

      Unsurprisingly, when the Corps described the Savings Clause around the time

of WRDA 2000, it did not exclude any Corps actions from its assurances. When the

Corps presented the CERP to Congress for authorization in 1999, it described the

“principle” behind the Savings Clause as: “[p]hysical and operational modifications

to the C&SF Project by the Federal government or the SFWMD will not interfere

with existing legal uses and will not adversely impact existing levels of service for

… water supply….” J.A. 1025. The Corps cited similar broad language as the

Congressional “intent” for the Savings Clause when it promulgated the

Programmatic Regulations in 2003: “[e]limination of existing sources of water

supply is barred until new sources of comparable quantity and quality of water are

available.“ Programmatic Regulations Final Rule, 68 Fed. Reg. at 64215 (quoting

Senate Report No. 106-362). It was not until four years after the regulations were


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finalized that the Corps stated that it could exclude some of its own intervening

actions from the assurances provided by the Savings Clause.

      The draft guidance is also inconsistent with the purpose of CERP to “vastly

increase water storage and water supply for the natural system as well as for urban

and agricultural needs.” J.A. 993; J.A. 1007-1008; J.A. 1012; Programmatic

Regulations Final Rule, 68 Fed. Reg. 64200; J.A. 743 (including “increase storage

and water supply for the natural system, as well as for urban and agricultural needs”

in the description of “Goals and Purposes of the Plan”). By exempting Corps

activities that the agency labels as “intervening non-CERP activities,” the guidance

memorandum allows the Corps to decrease overall water storage and water supply

provided by the Central and Southern Florida Project. Instead of growing the water

pie, the guidance memorandum essentially allows the Corps to redivide the pie by

exempting certain activities from the requirements of the Savings Clause so that the

water can be transferred without restrictions from agricultural and urban users to the

natural system.

      While the Corps is not required to make up losses in water supply caused by

natural events or the actions of third parties, it makes little sense that the Corps can

simply declare that some of its own actions, especially those that dramatically affect

one of the primary project purposes of water supply such as changes to Lake

Okeechobee regulation schedules, are not subject to WRDA 2000. This is especially


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troubling in a case such as this, where the issue is not whether the Corps may act to

adjust water levels on a temporary basis to facilitate repairs to the Herbert Hoover

Dike, but rather whether the Corps can ignore the effects of those actions when it

approves a CERP project years later.

             2.    The District Court Order Erred in Concluding that the
                   Corps Need Not Use the Pre-CERP Baseline in its Analysis
                   of the EAA Project

      The district court erroneously determined that the Corps need not have used

the pre-CERP baseline in its Savings Clause analysis for the EAA Project. First, the

Order misidentified the central issue in the case. Okeelanta’s complaint challenges

the Corps’ approval of the EAA Project in 2020 and the agency’s analysis of the

water supply effects of EAA Project pursuant to the Savings Clause. The Order, on

the other hand, focuses on whether the Corps had to follow the Savings Clause in

2008 when it adopted LORS. The Order states that the case “boils down to two

questions[:] … is there such a thing as an ‘intervening non-CERP activity’ [and] …

was LORS 2008 an intervening non-CERP activity[.]” Doc. 76 at 14, J.A. 1399.

Most of the Order addresses the Corps’ authority to manage water in Lake

Okeechobee, opines that the Corps did not violate the Savings Clause when it

adopted LORS in 2008 because such a conclusion “cannot possibly be right[,]” id.

at 27, J.A. 1412, and even offers advice to the Corps on “future changes to the Lake

Okeechobee Regulation Schedule,” finding that “the Corps may treat the water



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elevation set by LORS 2008 as a permissible baseline,” id. at 15, J.A. 1400. The

Order goes so far as to criticize the Plaintiffs for not filing a lawsuit against the Corps

challenging LORS. Id. at 21, J.A. 1406. All of this misses the actual claims in the

case, which are about the Corps’ approval of the EAA Project, not the Corps’

approval of LORS in 2008 or the Corps’ future approval of a new regulation

schedule for Lake Okeechobee when LORS expires. Whether the Corps should have

applied the Savings Clause when it adopted LORS in 2008 is not at issue in this case;

the issue is whether the adoption of LORS years ago allows the Corps to reset the

water supply baseline when it evaluated future CERP projects.

      Second, the Order simply assumes that if LORS was a non-CERP activity,

then it “changed the baseline” for Savings Clause analysis for future CERP projects

such as the EAA Project. Doc. 76 at 3, 15, 31-32, J.A. 1388, 1400, 1416-1417.

Whether or not the Corps properly applied the Savings Clause rules in 2008 when it

adopted LORS does not change those rules for future projects.                 The Order

acknowledges that the Corps announced LORS as a temporary regulation schedule

that is scheduled to expire in 2023. Id. at 9, 15, 21, J.A. 1394, 1400, 1406. Yet,

there is no explanation why such a temporary schedule – that will not even be in

effect when the EAA Project is operational – should change the Savings Clause

baseline in the analysis of the EAA Project.




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      Third, the Order does not explain how the Corps’ adoption of LORS could

change the language in the Programmatic Regulations. The Corps’ legal obligations

are established by the statute and its regulations, not by Corps’ own prior conduct.

The adoption of LORS, in administrative law terms, was an informal adjudication,

not a rulemaking, because it constituted a decision regarding a specific matter.

5 U.S.C. § 551(7) (defining “adjudication” as an “agency process for formulation of

an order”), § 551(6) (defining “order” as a “final disposition … of an agency in a

matter other than a rule making”). The Savings Clause identifies the baseline as the

water “available on the date of enactment of this Act” (December 11, 2000). The

Programmatic Regulations provide that the Corps must determine “if

implementation of the project will cause an elimination or transfer of existing legal

sources of water by comparing the availability of water with the recommended

project with the pre-CERP baseline,” 33 C.F.R. 385.36(a), and defines the “pre-

CERP baseline” as “the hydrologic conditions … on the date of enactment of WRDA

2000,” id. § 385.3. That is what the statute and regulations require, and until

Congress amends the statute and the Corps revises its regulation, they apply today

regardless of whether the Corps did not apply them in the past.

      Fourth, the Order misconstrues section 385.36(a). As noted above, that

regulation provides that “[t]he Corps … shall determine if implementation of the

project will cause an elimination or transfer of existing legal sources of water by


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comparing the availability of water with the recommended project with the pre-

CERP baseline….” In its five-sentence dismissal of the regulation, the district court

focuses on the phrase “implementation of the project” and states that the

“[r]egulations limit the application of the Savings Clause to losses in water due to

project implementation,” and does not “expand the scope of the Savings Clause to

non-CERP activities.” Doc. 76 at 18-19, J.A. 1403-1404. This discussion appears

to erroneously assume that “project implementation” in this context refers to CERP

in general, but the regulations define “project” in this context to mean “a component

or group of components of the Plan” triggering the Savings Clause analysis, such as

the EAA Project here. 33 C.F.R. §§ 385.3, 385.36(a); see also Dubin v. United

States, 143 S. Ct. 1557, 1566-67 (2023) (construing terms of statute in light of the

terms surrounding them).

      The Order also glosses over the fact that the key sentence of section 385.36(a)

requires a comparison of water supply with the EAA Project to the “pre-CERP

baseline,” which is defined to include “assumed operations of the Central and

Southern Florida Project” in 2000. 33 C.F.R. § 385.3. Specifying that the Corps

must conduct the comparison using operational rules in effect in 2000 means that

the Corps cannot assume operational rules adopted at a later date (such as in 2008

when LORS was adopted), which is the purported “intervening non-CERP activity”

in this case. This means that there are no “intervening non-CERP activities” the way


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section 385.36(a) is written. “[S]tatutory interpretation must ‘begi[n] with,’ and

ultimately heed what a statute actually says.” Groff v. DeJoy, 143 S. Ct. 2279 (2023)

(quoting National Ass’n of Mfrs. v. Dep’t of Defense, 138 S. Ct. 617, 631 (2018)).

The Order states that the definition of “pre-CERP baseline” is not “a smoking gun”

because “what matters is a loss in water due to ‘project implementation,’” Doc. 76,

at 19 n.10, J.A. 1404, but this amounts to rewriting the regulation to take the term

“pre-CERP baseline” out.

      In a tacit admission that section 385.36(a) means what it says and requires

comparison to the pre-CERP baseline, the Order suggests that the regulation should

“have no effect” because the Savings Clause “unambiguously does not apply to non-

CERP activities.” Doc. 76 at 19, J.A. 1404. As discussed above and elsewhere

(including in the papers filed by the Sugar Cane Growers Cooperative and U.S.

Sugar Corp.), the Order’s interpretation of the Savings Clause is incorrect, so the

conclusion does not follow. Moreover, with this suggestion the district court

overstepped its role because no party asked it to invalidate the regulations. The

district court effectively rewrote the regulations instead of requiring the agency to

follow the procedures in the Administrative Procedure Act.

      Fifth, the Order ignores the hierarchy of regulations and guidance documents,

in which regulations establish legal requirements that a guidance memorandum

cannot change. An agency cannot follow a guidance that is at odds with its


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regulation. See Simmons v. Block, 782 F.2d 1545, 1549-50 (11th Cir. 1986). The

Order also dismisses the irregularity of the guidance memorandum – such as the

failure of the Secretary of the Army to approve it as required by its regulations – and

dismisses as inconsequential the Corps’ failure to issue a document defining the pre-

CERP baseline as required by the regulations. Doc. 76 at 7, J.A. 1392.

       (apparently accepting the Corps’ explanation for missing the deadline to issue

approved guidance memoranda by nineteen years as “the nature of the bureaucratic

process”), id. at 35 n. 24, J.A. 1420 (stating that failure to develop the pre-CERP

baseline is not “significant”). There seemingly is no failure by the Corps that the

Order is unwilling to excuse.

      Finally, the Order incorrectly applies principles of statutory interpretation.

The Order improperly reads out of the Savings Clause the phrase “as that available

on the date of the enactment of this Act,” because if Lake Okeechobee is a “key

component of Florida’s water supply,” Doc. 76 at 3, J.A. 1388, and LORS

permanently changed the water supply baseline for the lake as indicated in the Order,

id. at 15, 31-32, then the Corps will never do a Savings Clause analysis for any future

project using the pre-CERP baseline. The Order also ignores or downplays multiple

terms in WRDA 2000 that indicate that CERP generally governs the Corps’ changes

to the Central and Southern Florida Project, including the description of the plan as

“comprehensive,” the provision that CERP is “the framework for modifications and


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operational changes” to the C&SF Project, and the requirement that the Corps

“integrate” CERP with preexisting projects. All of this violates the principle that all

terms in a statute must be given meaning. Ysleta Del Sur Pueblo v. Texas, 142 S.

Ct. 1929, 1939 (2022) (courts must “normally seek to construe Congress’ work ‘so

that effect is given to all provisions, so that no part will be inoperative or superfluous,

void or insignificant.’”) (quoting Corley v. United States, 556 U.S. 303, 314 (2009)).

       The Order’s discussion of statutory “history and purpose” erroneously focuses

almost entirely on statutes other than WRDA 2000. Doc. 76, at 28-34, J.A. 1413-

1419. The Order ignores the history of Congressional authorizations that led

Congress to approve WRDA 2000 to create a new comprehensive plan. The Order

also spends pages discussing marginally relevant post-WRDA 2000 statutes that the

Order admits have “little to-no value in interpreting a statute.” Doc. 76 at 32 n. 20,

J.A. 1417. None of this reasoning supports ignoring the plain language of the

Savings Clause or section 385.36(a).

       C.     The Army Corps Violated NEPA and the Savings Clause By
              Approving the EAA Project Without Analyzing the Effects on
              Water Supply of Operating the Stormwater Treatment Area for
              Years Before Completion of the Reservoir

              1.     The Agency Failed to Analyze the Water Supply Effects of
                     Operating the Stormwater Treatment Area Before
                     Completion of the Reservoir

       The Corps violated NEPA when it approved the construction and operation of

the EAA Project without analyzing the water supply effects of operating the

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stormwater treatment area before completion of the reservoir. The Corps’ failure to

conduct any kind of Savings Clause analysis for standalone STA operations means

that the agency also violated WRDA 2000.

      NEPA requires agencies to analyze the reasonably foreseeable environmental

effects of their proposed actions. 42 U.S.C. § 4332(2)(C)(i). Agencies do this by

preparing an environmental impact statement (EIS) that “take[s] a ‘hard look’ at

potential environmental consequences of their actions.”         Center for Biological

Diversity v. U.S. Army Corps of Eng’rs, 941 F.3d 1288, 1293 (11th Cir. 2019)

(quoting Ohio Valley Envt’l Coal. v. Aracoma Coal Co., 556 F.3d 177, 191 (4th Cir.

2009), and Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989)).

The purpose of NEPA is to “ensure[] that the agency will not act on incomplete

information, only to regret its decision after it is too late to correct.” Marsh v. Or.

Nat. Res. Council, 490 U.S. 360, 371 (1989) (citing Robertson, 490 U.S. at 350).

Interdependent parts of a larger action that depend on the larger action for their

justification must be analyzed in a single EIS. 40 C.F.R. § 1501.9(e)(1)(iii). After

completing its environmental review, agencies must issue a Record of Decision that

states the decision and identifies and discusses all factors which were balanced by

the agency in making its decision. 40 C.F.R. § 1505.2(a)-(b); Defenders of Wildlife

v. U.S. Dep’t of the Navy, 733 F.3d 1106, 1109-10 (11th Cir. 2013). Agencies are

prohibited from taking actions prior to issuance of the Record of Decision which


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would “[h]ave an adverse environmental impact … or [l]imit the choice of

reasonable alternatives.”   40 C.F.R. § 1506.1(a).         The Corps’ Programmatic

Regulations require the Corps to include its NEPA reviews with the Project

Implementation Report, 33 C.F.R. §§ 385.26(a)(1), (d), and provide that the

Assistant Secretary of the Army shall review and approve the report “prior to

implementation of the project,” id. § 385.26(f)(7).

      The Corps issued its record of decision approving construction and operation

of the EAA Project based on the 2020 Final Environmental Impact Statement, which

discussed the water supply effects of only some project operations. Specifically, it

looked at the water supply effects of operating the stormwater treatment area and

reservoir together once both components are completed and operational. It also

looked at the water supply effects of start-up operations of the STA, when the plants

in the stormwater treatment area are growing to enable flow-through operations.

However, the 2020 FEIS did not consider the water supply effects of interim flow-

through operations of the STA, after the grow-in period but for the estimated four

plus years before the reservoir is completed.

      Flow-through operations of the STA before completion of the reservoir could

have significant effects on water supply. The EAA Project is designed to take water

stored in Lake Okeechobee, where it currently is available for agricultural and urban

users during a drought. J.A. 491. The STA component of the project treats that lake


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water so that it can be discharged to the Everglades. Once the reservoir is built,

some of the water stored in the reservoir can be used for agricultural water supply.

Before the reservoir is built, any lake water treated in the STA has to be discharged

to the Everglades, which means that it is unavailable for water supply during a

drought. Doc. 28-1 ¶ 33, J.A. 121. The amount of water affected is not small: the

stormwater treatment area is designed to treat up to 162,000 acre-feet of water a

year, J.A. 515, and the STA is expected to be capable of flow-through operations at

least four years before the reservoir is completed. For that reason, Okeelanta asked

the Corps to analyze water supply during these interim operations, J.A. 498, but the

agency refused and simply approved the project. J.A. 1102; J.A. 1051.

      The Corps plainly violated NEPA when it failed to analyze the water supply

effects of flow-through operations of the STA prior to completion of the reservoir.

Significant water supply effects are reasonably foreseeable before the reservoir

component is completed, but the Corps ignored this issue. Sierra Club v. Martin,

510 F.2d 813, 820 (5th Cir. 1975) (one of the primary purposes of NEPA is to

prevent “stubborn problems or serious criticism from being swept under the rug”).

Despite failing to analyze this issue, the Corps approved both the construction and

operation of the overall EAA Project, including the STA component, when it issued

its 2020 Record of Decision approving overall civil works project. J.A. 489. The

Corps also entered into a Project Partnership Agreement with the SFWMD based on


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the 2020 FEIS which entitled the SFWMD to receive credit toward its cost share for

the hundreds of millions of dollars being spent on the STA. J.A. 712. In so doing,

it made irretrievable commitments of resources, and made possible the expenditure

of hundreds of millions of dollars by the state and federal governments.

      The Corps was required to analyze this issue before approving the overall

project. The Programmatic Regulations provide that the Project Implementation

Report must be completed before the Assistant Secretary of the Army approves a

project. 33 C.F.R. § 385.26(f)(7). The Project Implementation Report must include

both the NEPA analysis and the Savings Clause analysis. Id. § 385.26(a)(3)(x), (d).

This sequence of analyzing issues first before making decisions is consistent with

the purpose of NEPA, which is to make agencies aware of the consequences of their

actions before they make decisions. Robertson, 490 U.S. at 349. That is why the

NEPA regulations prohibit agencies from taking actions until 30 days after notice of

availability of a final EIS is published in the Federal Register. 40 C.F.R. §§

1506.10(b), 1506.11(b)(2).

      There is little indication in the administrative record that the Corps intended

to conduct additional NEPA analysis after issuance of the Record of Decision in

2020. The 2020 FEIS does not indicate that the Corps was deferring any of its NEPA

review related to the STA. See J.A. 496 (“this Final EIS is a comprehensive

environmental analysis of the permit application for the STA project”). The FEIS


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only stated that if changes were made to the project, then “such modifications would

be analyzed under supplemental NEPA reviews at their respective proposal stage.”

J.A. 497. The May 2020 Record of Decision approved the EAA Project based on

the 2020 FEIS, and stated that “[t]his Record of Decision completes the National

Environmental Policy Act process.” J.A. 494.

      The Corps’ Clean Water Act Section 404 permit, which was issued to

authorize construction of portions of the stormwater treatment area in the waters of

the United States, included a condition prohibiting STA operations “beyond what is

described in the project description until written authorization is granted by the

Corps.” J.A. 456. The Record of Decision for this permit described the rationale

for this condition as “[t]he draft operating plan that was included in the Final EIS

did not have enough details to ensure that adequate NEPA evaluation was

completed,” so the NEPA analysis “will be updated to reflect the operations plan

and coordinated for public and agency review as appropriate.” Id. The SFWMD

submitted the operations plan in November 2020. J.A. 548 (ROD describing it).

The Corps acknowledged that submission of the operations plan would allow “the

Corps to update our National Environmental Policy Act (NEPA) analysis,” id., but

the administrative record reveals that the Corps never did any such updated analysis.

Instead, the agency indicated in March 2021 that it was poised to approve STA




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operations, and the only reason why it was not doing so was because it was waiting

for the issuance of a water quality certification by the State of Florida. Id.

      The administrative record makes clear that the Corps had no plan to conduct

additional NEPA analysis before Okeelanta and the other appellants filed their

lawsuits. However, if, in fact, the Corps always intended to delay its NEPA analysis

of standalone STA operations until a later date, then that would be improper

segmentation of its review. The NEPA regulations provide that “[p]roposals or parts

of proposals which are related to each other closely enough to be, in effect, a single

course of action shall be evaluated in a single impact statement.” 40 C.F.R. §

1502.4(a); see also id. § 1501.9(e)(1)(iii) (“connected actions” to be discussed in a

single EIS include actions that “[a]re interdependent parts of a larger action and

depend on the larger action for their justification”). Operation of the STA prior to

completion of the reservoir is simply one stage of a single project. Nowhere in the

administrative record does the Corps ever describe the STA and reservoir to be

separate projects; to the contrary, the Corps refers to them as “components” of the

EAA Project. E.g., J.A. 842-847. The 2020 FEIS analyzed construction of the STA

and reservoir, the initial vegetation grow-in operations of the STA, and flow-through

operation of the STA once the reservoir is completed. J.A. 867-869; J.A. 903-905.

Deferring analysis of an intermediate stage of STA operations – flow-through

operations before completion of the reservoir – to a later EIS would violate those


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regulations. Delaware Riverkeeper Network v. FERC, 753 F.3d 1304, 1308-09

(D.C. Cir. 2014) (agency violated NEPA by preparing separate environmental

assessments for parts of connected, closely related and interdependent projects); cf.

Kleppe v. Sierra Club, 427 U.S. 390, 410 (1976) (“when several proposals … that

will have cumulative or synergistic environmental impact upon a region are pending

concurrently before an agency, their environmental consequences must be

considered together”).

             2.    The District Court Order Erred in Concluding that a
                   Promise During Oral Argument to Conduct Future Analysis
                   Cured the NEPA Violation

      The Order acknowledges that the Corps’ NEPA analysis assumed that the

stormwater treatment area would only operate in tandem with the reservoir. Doc. 76

at 36, J.A. 1421. The Order also acknowledges that the STA will be ready for flow-

through operations in 2025 while the reservoir is not expected to be completed until

at least 2029, if not later. Id. Yet, the Order found no violation because the Corps’

Clean Water Act Section 404 permit, authorizing construction of the STA, prohibits

operations until a further approval by the Corps, and agency counsel at oral argument

committed the agency to doing further NEPA and Savings Clause analysis before

that approval is given. Doc. 76 at 36-38, J.A. 1421-1423. The Order therefore

entered summary judgment for the Corps because of “the broad discretion that

agencies are given as to when they perform a NEPA analysis.” Id. at 38, J.A. 1423.



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      The Order provided no explanation as to why it denied the Savings Clause

claim. Even if agencies have flexibility of timing of their NEPA analyses (discussed

below), there is nothing in WRDA 2000 or the Programmatic Regulations that says

that the Corps can delay a Savings Clause analysis until after it approves a project.

To the contrary, the Programmatic Regulations require the Savings Clause analysis

to be part of the Project Implementation Report, 33 C.F.R. § 385.36(a), which is the

document which provides the “information and analysis necessary for the Secretary

of the Army to approve the project for implementation,” id. § 385.26(a)(i).

      Regarding NEPA, the Order is incorrect that the NEPA analysis is not

overdue. First, the Order ignores that the Assistant Secretary of the Army approved

the overall EAA Project in the May 2020 Record of Decision. That decision

triggered the expenditure of hundreds of millions of dollars by the Corps and

SFWMD, and made implementation of the project a fait accompli. Even if the Clean

Water Act Section 404 permit delayed approval of STA operations, the overall

project approval represents an irretrievable commitment of resources without full

consideration of the water supply effects of operating the stormwater treatment area

for years before the reservoir is completed.

      Second, the Order ignores the requirement of the Programmatic Regulations

that the Corps include its NEPA analysis in an approved Project Implementation

Report “prior to implementation of the project.” 33 C.F.R. § 385.26(f)(7)(i). This


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places a deadline on the Corps to complete its NEPA analysis that is specific to

CERP projects.

      The cases cited in the Order for the proposition that agencies have “broad

discretion … as to when they perform NEPA analysis,” Doc. 76 at 38, do not address

CERP projects and do not stand for the proposition that agencies can wait until after

a project is approved to conduct NEPA. Instead, those cases address whether an

agency must prepare NEPA documents for projects that have not yet been proposed.

See Kleppe, 427 U.S. at 412 (holding that NEPA does not require analysis of projects

that have not been proposed, and that agency has some flexibility regarding the

geographic scope of analysis of specific proposals); City of Oxford, Ga. v. F.A.A.,

428 F.3d 1346, 1354-56 (11th Cir. 2005) (in NEPA document addressing the effects

of changes to airport runways, the agency was not required to analyze the

construction of a new terminal building that had not been specifically proposed).

Neither of these cases stand for the proposition that an agency can wait to conduct a

NEPA analysis of a component of a proposed project until after the project is

approved.

      Finally, the Order appears to confuse the question of whether the Corps

violated NEPA and the Savings Clause with the appropriate remedy for the violation.

The Corps should have analyzed standalone STA operations before approving the

project, and its failure to do so violated NEPA. The Corps obviously needs to


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remedy its violation, and agency counsel committed the Corps to conducting

additional NEPA analysis at oral argument in district court. However, the Order

appears to miss the point that the agency’s remedy does not expunge the original

violation, because the district court granted summary judgment to the Corps.

                                 CONCLUSION

      The Corps violated the WRDA 2000 Savings Clause and its implementing

Programmatic Regulations when it failed to compare water supply available with the

EAA Project to water supply available under the pre-CERP baseline. The Corps

also violated NEPA and the Savings Clause when it failed to analyze the water

supply effects of STA flow-through operations for the multiple years before

completion of the reservoir. The Court should reverse the district court Order and

enter judgment for Appellants.




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Dated: November 28, 2023                  Respectfully submitted,

                                          /s/ T. Neal McAliley
                                          T. Neal McAliley
                                          Florida Bar No. 172091
                                          David A. Karp
                                          Florida Bar No. 69926
                                          CARLTON FIELDS, P.A.
                                          700 NW 1st Avenue, Suite 1200
                                          Miami, Florida 33136
                                          (305) 530-0050
                                          nmcaliley@carltonfields.com
                                          dkarp@carltonfields.com

                                          Counsel for Plaintiff-Appellant
                                          Okeelanta Corporation




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                     CERTIFICATE OF COMPLIANCE

      The undersigned attorney certifies that this Brief complies with the type-

volume limitation of Fed. R. App. P. 32(a)(7)(B) because this response contains

12,482 words, excluding parts exempted by Fed. R. App. P. 32(f), and the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R.

App. P. 32(a)(6) because it has been prepared in Times New Roman 14-point font,

a proportionally spaced typeface using Microsoft Word.

                                          /s/ T. Neal McAliley




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                        CERTIFICATE OF SERVICE

      I certify that on November 28, 2023, I caused the foregoing to be served via

the CM/ECF system on counsel of record:

Gary V. Perko                             Deborah K. Madden
Gary K. Hunter                            Luna E. Phillips
Mohammad O. Jazil                         GUNSTER, YOAKLEY & STEWART P.A.
HOLTZMAN VOGEL BARAN                      450 East Las Olas Blvd., Suite 1400
 TORCHINSKY & JOSEFIAK, PLLC              Fort Lauderdale, Florida 33301
19 South Monroe Street, Suite 500         dmadden@gunster.com
Tallahassee, Florida 32301                mmcleod@gunster.com
850-270-5938                              lphillips@gunster.com
gperko@holtzmanvogel.com                  954-462-2000
ghunter@holtzmanvogel.com                 Counsel for U.S. Sugar Corp.
mjazil@holtzmanvogel.com
Counsel for Sugar Cane Growers
Cooperative of Florida

Gregory M. Munson                         Paul D. Clement
GUNSTER, YOAKLEY & STEWART P.A.           Andrew C. Lawrence
215 South Monroe Street, Suite 601        CLEMENT & MURPHY, PLLC
Tallahassee, Florida 32301                706 Duke Street
gmunson@gunster.com                       Alexandria, Virginia 22314
mmcleod@gunster.com                       paul.clement@clementmurphy.com
rfrazier@gunster.com                      andrew.lawrence@clementmurphy.com
850-521-1980                              202-742-8900
Counsel for U.S. Sugar Corp.              Counsel for U.S. Sugar Corp.




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Timothy S. Bishop                        Arielle Mourrain Jeffries
Avi M. Kupfer                            Allen M. Brabender
MAYER BROWN LLP                          U.S. DEPARTMENT OF JUSTICE
71 South Wacker Drive                    P.O. Box 7415
Chicago, Illinois 60606                  Washington, DC 20044
tbishop@mayerbrown.com                   202-532-3140
akupfer@mayerbrown.com                   arielle.jeffries@usdoj.gov
312-706-8607                             allen.brabender@usdoj.gov
Counsel for U.S. Sugar Corp.             Counsel for U.S. Army Corps of
                                         Engineers

Peter Kryn Dykema                        Matthew J. Feeley
Sally J. Sullivan                        U.S. ATTORNEY’S OFFICE,
U.S. DEPARTMENT OF JUSTICE               SOUTHERN DISTRICT OF FLORIDA
150 M Street NE, Suite 3.142             99 N.E. 4th Street, Suite 300
Washington, DC 20002                     Miami, Florida 33132
202-514-9269                             305-961-9235
peter.dykema@usdoj.gov                   Matthew.Feeley@usdoj.gov
sally.sullivan@usdoj.gov                 Counsel for U.S. Army Corps of
Counsel for U.S. Army Corps of           Engineers
Engineers

                                         /s/ T. Neal McAliley


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